Plaintiff in error, Bob George, was convicted in the county court of Coal county of the crime of selling intoxicating liquor, and was on the 14th day of April, 1909, sentenced to be confined in the county jail for a term of thirty days and pay a fine of fifty dollars, from which judgment he appealed by filing in this court on July 16, 1909, his petition in error with case-made attached. No briefs have been filed and we are not advised as to what plaintiff in error relies upon for a reversal of said judgment. Counsel for the state has filed a motion to dismiss or affirm for want of prosecution. We have examined the record and no error is apparent. The motion to affirm is allowed and the judgment of the lower court is hereby affirmed. The clerk of this court will issue mandate to the county court of Coal county, directing said county court to cause the judgment and sentence to be enforced.